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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA

v.                                              No. 4:08CR00139 SWW

SHELLY HILL AND RICKY CARPER


                                 FINAL ORDER OF FORFEITURE

        WHEREAS, on August 5, 2009, this Court entered a Preliminary Order of Forfeiture,

ordering defendant to forfeit his interest in the following:

        a.      $55,900 in U. S. Currency found in Ricky Carper’s vehicle;

        b.      $849.00 in U. S. Currency seized on Shelly Hill’s person;

        c.      $6,652.00 seized on Ricky Carper’s vehicle.

        WHEREAS, the United States caused to be published on the forfeiture website, internet

address of www.forfeiture.gov for thirty consecutive days beginning on August 19, 2009, notice

of this forfeiture and of the intent of the United States to dispose of the property in accordance

with the law and as specified in the Preliminary Order. and further notifying all third parties of

their right to petition the Court within thirty (30) days for a hearing to adjudicate the validity of

their alleged legal interest in the property;

        WHEREAS, no claims were filed by any persons with respect to any of the property

described herein;

        WHEREAS, the Court finds that defendant had an interest in the property that is subject

to forfeiture pursuant to Title 21 U.S.C. § 853(p).

        NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that
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       a.      $55,900 in U. S. Currency found in Ricky Carper’s vehicle;

       b.      $849.00 in U. S. Currency seized on Shelly Hill’s person;

       c.      $6,652.00 seized on Ricky Carper’s vehicle.

are hereby forfeited to the United States of America pursuant to Title 21 U.S.C. § 853(p).

       IT IS FURTHER ORDERED, ADJUDGED AND DECREED that all right, title, and

interest in all of the property set forth above is hereby condemned, forfeited and vested in the

United States of America, and shall be disposed of according to law; and

       IT IS FURTHER ORDERED that the United States District Court shall retain jurisdiction

in the case for the purpose of enforcing this Order; and

       IT IS SO ORDERED this 29th day of October, 2009.




                                              /s/Susan Webber Wright
                                              UNITED STATES DISTRICT JUDGE
